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     "\);AO 245B (CASD) (Rev 4il4)   Judgment in a Criminal Case
                Sheet!



                                               UNITED STATES DISTRICT COURjilliAUG 31 PH I: 59
                                                   SOUTHERN DISTRICT OF CALIFORNIA s:it1:'~Nl~\¥~T;.;~~1~~,\~3~1;~ ~
                     UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                         v.
                          Xochitl Victoria Otero -3                                  Case Number: l5-cr-02097-JAH-3

                                                                                     Thomas S Sims
                                                                                     Defendant's Attorney
     REGISTR;\TlON NO. 51056298
    [8J    Restitution (18 U.S.c. § 3664)
     THE DEFEl\TDAr-iT:
     [8J pleaded guilty to count(s) One of the Superseding Infonnation.
     o     was found guilty on count(s)_ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ __

           after a plea of not gui Ity.
           Accordingly. the defendant is adjudged guilty of such count(s), which involve the following oftensc(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
8: 1324(a)( l)(A)(iii),                 Harboring Certain Aliens                                                                           I
 (v)(Il)




        The defendant is sentcnced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not gUilty on count(sl

 18I count(sl_re_m_a_i_ni_n:::;.g_ _ _ _ _ _ _ _ _ _ _-----------------------------------------------------
                                                       _ _ _ _ _ _ _ is [8J are 0 dismissed on the motion of the United States.

 18I Assessment: $100.00.

  18I No fine                                        o    Forfeiture pursuant to order filed
                                                                                                   ---------------- , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               May 31, 2016

                                                                                 \J \ \\ \ .
                                                                              illite oflmposition of Sentence


                                                                                .~ \;'v~~ \~'1 . \--:::­
                                                                                                                \




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AO 2458 (CASD) (Rev 4/14) Judgment in a Criminal Case
           Sheet 2 ~- Imprisonment

                                                                                           Judgment - Page    2      of      5
 DEFENDANT: Xochitl Victoria Otero -3
 CASE NUMBER: lS-cr-02097-JAH-3
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the united States Bureau of Prisons to be imprisoned for a term of
         forty months.




    o Sentence imposed pursuant to Title 8 uSC Section J326(b).
    I8l The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends the Residential Drug Abuse Program and that custody be served in the Western Region.




    o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender the United States Marshal for this district:
                                            to

           Oat                                    Da.m.     Op·m.       on
               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o betore ------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _~_ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.



                                                                                          UNITED STATES MARSHAL

                                                                    By
                                                                                      DEPUTY UNlTED STATES MARSHAL




                                                                                                                  lS-cr-02097 -JAH-3
         Case 3:15-cr-02097-JAH                     Document 100               Filed 08/31/16               PageID.411            Page 3 of 5


AO 245B (CASD) (Rev.4i14) Judgment in a Crimmal Case
           Sheet 3 - Supervised RelellSe
                                                                                                                Judgment-Page .....J- of
DEFENDANT: Xochitl Victoria Otero -3                                                                    a
CASE NUMBER: 15-cr-62097-JAH-.l
                                                            SUPERVISED RELEASE
Upon release from impri50nment, the defendant shall be on supefvi51)d rclc;1l5e for Ii term of:
three years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of re lease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _ 4 _ drug tests per month during
the term of supervision, unless otherwise ordered by court.

o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
         The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
         by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
         was convicted ofa qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgm ent.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          STA~DARD CONDITIO~S OF SUPERVISION

   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation ofticer;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessi ve use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substanees are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in eriminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 II)       the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permISSIOn of the court; and
  J 3)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant's compliance with such notification requirement.

                                                                                                                                      lS-cr-02097-JAH-3
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         AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4 -- Special Conditions


         DEFENDANT: Xochitl Victoria Otero -3
         CASE NUMBER: IS-cr-02097-JAH-3




                                               SPECIAL CONDITIONS OF SUPERVISION
      Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded, or allowed to voluntarily rctum to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
o     Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer.
~     Report all vehicles owned or operated, or in which you have an intcrest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
o     Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      infonnation between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be detennined by the probation officer, based on the defendant's ability to pay.
o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Beprobation
       prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
              officer.
o     Seek and maintain full time employment andlor schooling or a combination of both.
[8]   Resolve all outstanding warrants within         90    days.
o     Complete           hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
~ Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release ofinfonnation between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.

o     Comply with the conditions of the Horne Confinement Program for a period of                              months and remain at your residence
      except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
      procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
      probation officer.




                                                                                                                                   15-cr-02097-JAH-3
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AO 145S     Judglnent In Criminal Case
            Sheet 5 Criminal ~ol1crary Penalrieg
                                                                                                     Judgm~nt -~ Page   __,_ _ of       5
 DEFENDANT: Xochitl Victoria Otero -3
 CASE NUMBER: 15-cr-02097-JAH-3

                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _$_6_8_3_.5_5_ _ _ _ unto the United States of America.




          This sum shall be paid       __ immediately.
                                        X as follows:

           Pay restitution in an amount of$683.55 to Cesar Hernandez and Marisol Camarillo through the Clerk, U. S. District
           Court. Payment of restitution shall be forthwith and in a lump sum. During any period of incarceration, the defendant
           shall pay restitution through the Inmate Financial Responsibility Program at the rate of 50% of the defendant's income, or
           $25.00 per quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at a rate To
           Be Detennined. These payment schedules do not foreclose the United States from exercising all legal actions, remedies,
           and process available to it to collect the restitution judgment.

           Defendant shall be jointly and severally liable to pay restitution with co-defendants David Chavez and Robert
           Covarrubias for the same losses.

           Until restitution has been paid, the defendant shall notifY the Clerk of the Court and the United States Attorney's Office
           of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.




      The Court has detennined that the defendant        does not    have the ability to pay interest. It is ordered that:
     )(       The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    15-cr-02097 -JAH-3
